                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                 at CHATTANOOGA


 UNITED STATES OF AMERICA                 )
                                          )       No. 1-09-cr-98
 v.                                       )
                                          )       Judge Mattice
 RYAN SHARP                               )

                                          ORDER

        United States Magistrate Judge William B. Mitchell Carter filed his report and

 recommendation pursuant to 28 U.S.C. § 636(b)(1) and Federal Rule of Criminal

 Procedure 59(a) [Court Doc. 424] . Neither party filed objections within the given 14 days.

        After reviewing the record, the Court agrees with Magistrate Judge Carter’s report

 and recommendation. The Court thus ACCEPTS and ADOPTS Magistrate Judge Carter’s

 findings of fact, conclusions of law, and recommendations pursuant to § 636(b)(1) and

 Rule 59(a).

        Accordingly, the Court ORDERS that the Motion to Suppress Evidence [Court Doc.

 384] and Motion of Defendant to Disclose Name of Confidential Informants and Brief in

 Support [Court Doc. 384] be DENIED.

               SO ORDERED this 7th day of April, 2010.


                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




Case 1:09-cr-00098-TRM-CHS        Document 433      Filed 04/07/10    Page 1 of 1     PageID
                                        #: 938
